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8                                   UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
10

11   Patrick Taylor,                              )   NO. CV 19-07712 FMO (AFMx)
                                                  )
12                        Plaintiff(s),           )
                                                  )
13                 v.                             )   ORDER DISMISSING ACTION WITHOUT
                                                  )   PREJUDICE
14                                                )
     Unum Life Insurance Company of               )
15   America,                                     )
                                                  )
16                        Defendant(s).           )
17
            Having been advised by counsel that the above-entitled action has been settled, IT IS
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     ORDERED that the above-captioned action is hereby dismissed without costs and without
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     prejudice to the right, upon good cause shown within 60 days from the filing date of this Order,
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     to re-open the action if settlement is not consummated. The court retains full jurisdiction over this
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     action and this Order shall not prejudice any party to this action.
22
     Dated this 16th day of November, 2021.
23

24                                                                         /s/
25                                                                  Fernando M. Olguin
                                                               United States District Judge
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